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                                                                                 FILED
                                                                           U.S. District Court
                                                                           District of Kansas

                                                                             JUN 3 2022
                       In the United States District Court
                            for the District of Kansas              Clerk, U.S. District Court
                                                                    By       C~             Deputy Clerk



United States of America,
                      Plaintiff,

V.                                                   Case No. 21-10043-01 EFM

Paul Gordon,
                          Defendant.




          Petition to Enter Plea of Guilty and Order Entering Plea
           [Federal Rules of Criminal Procedure, Rules 10 and 11]


      The defendant represents to the Court:

      (1)    My full true name is: Paul Gordon. I am 35 years of age. I have received
a G.E.D. I request that all proceedings against me be in my true name.

       (2)  I am represented by a lawyer, her name is Melody Brannon, Federal
Public Defender for the District of Kansas.

       (3) I received a copy of the Indictment before being called upon to plead. I
have read the Indictment and have discussed it with my lawyer. I fully understand
every charge made against me.

      (4) I told my lawyer all the facts and circumstances known to me about the
charges made against me in the Indictment. I believe that my lawyer is fully
informed on all such matters.

       (5) I know that the Court must be satisfied that there is a factual basis for a
plea of "GUILTY" before my plea can be accepted. I represent to the Court that I did
the following acts in connection with the charges made against me in Count 1 of the
Indictment:
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                                       COUNT 1

     ON OR ABOUT MAY 5, 2021, IN THE DISTRICT OF KANSAS, I, BY FORCE,
VIOLENCE AND INTIMIDATION, DID TAKE FROM THE PERSON OR
PRESENCE OF ANOTHER, MONEY, NAMELY APPROXIMATELY $460 IN
UNITED STATES CURRENCE, BELONGING TO AND IN THE CARE, CUSTODY,
CONTROL, MANAGEMENT, AND POSSESSION OF THE EQUITY BANK,
LOCATED AT 112 E. MYRTLE STREET IN INDEPENDENCE, KANSAS, A BANK
WHOSE DEPOSITS WER THEN INSURED BY THE FEDERAL DEPOSIT
INSUANCE CORPORATION, IN VIOLATION OF TITLE 18, UNITED STATES
CODE, § 2113(a).

        (6) My lawyer has counseled and advised me on the nature of each charge, on
all lesser included charges, and on all possible defenses that I might have in this case.

       (7) I know that I have the right to plead "NOT GUILTY" to any offense
charged against me. If I plead "NOT GUILTY" I know the Constitution guarantees
me (a) the right to a speedy and public trial by a jury; (b) at that trial, and at all
stages of the proceedings, the right to the assistance of a lawyer; (c) the right to see
and hear all witnesses called to testify against me, and the right to cross-examine
those witnesses; (d) the right to use the power and process of the Court to compel the
production of any evidence, including the attendance of any witnesses in my favor;
and (e) the right not to be compelled to incriminate myself by taking the witness
stand; and if I do not take the witness stand, no inference of guilt may be drawn from
such decision.

       (8) I know that ifI plead "GUILTY," I am thereby waiving my right to a trial,
and that there will be no further trial of any kind, either before a Court or jury; and
further, I realize the Court may impose the same punishment as if I had pleaded
"NOT GUILTY," stood trial, and been convicted by a jury.

       (9) I know that if I plead "GUILTY," the Court will ask me questions about
the offense(s) to which I have pleaded, and since I will be answering these questions
under oath, on the record, and in the presence of my lawyer, that my answers may
later be used against me in a prosecution for perjury or false statement.

        (10) My lawyer informed me that the plea of "GUILTY" could subject me to a
 mandatory minimum sentence of not less than Q months (if applicable) and to a
 maximum punishment which, as provided by law, is 20 years be followed by a term
of supervised release of at least Q years on (Title 21 Drug Offense) and not to exceed
.3. years (greater of 18 U.S.C. § 3583(b) or Title 21 Drug Offense), and a fine of not
 more than $250,000.00 (which may accrue interest if not paid at time of sentencing)
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for the offense(s) charged in Count 1 of the Indictment. I have also been informed
that should the Court find me in violation of the supervised release term, the term
could be revoked and an additional term of imprisonment not to exceed .2. years may
be imposed. I have also been informed that the Court may order me to make
restitution in compliance with 18 U.S.C. § 3663 and § 3664 or as a condition of
supervision, if such is ordered under 18 U.S.C. § 3563, in addition to any other penalty
provided by law. I further understand that if I am pleading "GUILTY" to an offense
which is subject to the Sentencing Reform Act, I cannot be released on parole and, if
imprisonment is ordered in my case, the sentence imposed by the Court will be the
sentence I serve less any good time credit if I earn it.

       11) I know that in addition to any other penalty imposed, including any fine
or restitution order, the Court is required to impose a special monetary assessment
in the amount of $100.00 for each felony, $25.00 for each class A misdemeanor, $10
for each class B misdemeanor, and $5 for each class C misdemeanor or infraction
count in which the offense occurred after April 24, 1996. I UNDERSTAND THIS
SPECIAL ASSESSMENT MUST BE PAID AT THE TIME OF THE SENTENCING
HEARING UNLESS THE COURT DIRECTS OTHERWISE.

       (12) I understand that if my case involves drug trafficking or drug possession,
the Court may deny or suspend my eligibility to receive federal benefits pursuant to
21 U.S.C. § 862, except for those specifically exempted. I understand that if this is
my second or subsequent conviction for possession of a controlled substance, the
Court may order me to complete drug treatment or community service as specified in
the sentence as a condition for reinstatement of benefits.

       (13) I know that the Court may also order, in addition to the penalty imposed,
that I give reasonable notice and explanation of the conviction, in such form as the
Court may approve, to the victims of the offense.

      (14) I have been advised and understand that if I am not a U.S. c1t1zen, a
conviction of a criminal offense may result in deportation from the United States,
exclusion from admission to the United States, and/or denial of naturalization.

       (15) If I am on probation or parole in this or any other Court, I know that by
pleading guilty here, my probation or parole may be revoked and I may be required
to serve time in that case, which will be consecutive, that is, in addition to any
sentence imposed upon me in this case.

       (16) I declare that no officer or agent of any branch of government (federal,
state, or local) has promised, suggested, or predicted that I will receive a lighter

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sentence, or probation, or any other form of leniency if I plead "GUILTY," except as
follows:

      My attorney did discuss how the Sentencing Guidelines may apply in
      my case.

       If anyone else, including my attorney, made such a promise, suggestion, or
prediction, except as noted in the previous sentence, I know that he had no authority
to do so.

       I know that the sentence I will receive is solely a matter within the control of
the Judge. I do understand that there is no limitation on the information the Judge
can consider at the time of sentencing concerning my background, character, and
conduct, provided the information is reliable, 18 U.S.C. § 3661. I do understand that
if I am subject to sentencing under the Sentencing Reform Act and the Sentencing
Guidelines issued by the United States Sentencing Commission, a sentencing
guideline range is established. The Judge will consider a sentence from within the
guideline range and, if my case presents features which persuade the Judge to vary
from the guideline the Judge could impose a sentence either above or below the
recommended guideline range. In determining the guideline range, any variance,
and the sentence to impose, the Court may take into account all relevant criminal
conduct, which may include counts to which I have not pled guilty or been convicted
and take into account background characteristics, unless otherwise prohibited by law.
I further understand that my background characteristics including, but not limited
to, the recency and frequency of my prior criminal record, whether or not a
substantial portion of my income resulted from criminal conduct, my role in the
offense, victim-related circumstances, and my acceptance of the responsibility for the
offense, may have a specific effect on the sentence.

       I hope to receive leniency, but I am prepared to accept any punishment
permitted by law which the Court sees fit to impose. However, I respectfully request
the Court to consider, in mitigation of punishment, that I have voluntarily entered a
plea of guilty.

       (17) I understand that a U.S. Probation Officer will be assigned to conduct a
thorough presentence investigation to develop all relevant facts concerning my case
unless the Court finds that there is in the record sufficient information to enable the
meaningful exercise of sentencing authority pursuant to 18 U.S.C. § 3553. The report
of the presentence investigation shall contain the factors set forth in Rule 32. These
include the classification of the offense and of the defendant under the categories
established by the Sentencing Commission, the kinds of sentence available to the
Court, and the sentencing range the officer believes applicable. The report shall
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include the history and characteristics of the defendant and such other information
required by the Court recognizing the factors set forth in paragraph (16) above.

      (18) My plea of guilty is the result of my plea agreement entered into between
the Government attorney, my attorney, and me.

       Since my plea of guilty is the result of a plea agreement, I hereby state that
the terms of said agreement are as follows:

      See attached Plea Agreement.

        I fully understand that the Court is not bound by the terms of the plea
agreement, and may accept or reject said agreement. If the Court rejects the
agreement, I also understand the Court will not give me the opportunity to withdraw
my plea of guilty, unless the plea agreement, signed by all parties, is executed in
accordance with Federal Rules of Criminal Procedure, Rule 1 l(c)(l)(A) or Rule
1 l(c)(l)(C).

       (19) I believe that my lawyer has done all that anyone could do to counsel and
assist me, AND I AM SATISFIED WITH THE ADVICE AND HELP SHE HAS
GIVEN ME.

      (20) I know that the Court will not permit anyone to plead "GUILTY" who
maintains he/she is innocent and, with that in mind, and because I am "GUILTY"
and do not believe I am innocent, I wish to plead "GUILTY" and respectfully request
the Court to accept my plea of "GUILTY" and to have the Clerk enter my plea of
"GUILTY" as follows.

      Guilty to Count 1 of the Indictment.

       (21) My mind is clear, I am not under the influence of alcohol. I currently am
not under a doctor's care. The only drugs, medicines or pills that I took within the
past seven (7) days are:

      None.

        (22) I have never been confined in an institution for the treatment of mental
illness. I have never been adjudicated mentally incompetent. No psychiatrist,
physician, or psychologist has ever found me to be mentally ill. I know of no reason
why my mental competence at the time of the commission of the alleged offense(s), or
at the present time, should be questioned. (If there are any exceptions to the above
statement, explain below.)
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          None.

        (23) I offer my plea of "GUILTY" freely and voluntarily, and further state that
my plea of guilty is not the result of any force or threats against me, or of any promises
made to me other than those noted in this petition. I further offer my plea of
"GUILTY" with full understanding of all the matters set forth in the Indictment and
in this petition, and in the certificate of my attorney which is attached to this petition.

      (24) I waive the reading of the Indictment in open court, and I request the
Court to enter my plea of "GUILTY" as set forth in paragraph (20) of this petition.

      (25) I swear that I have read, understood, and discussed with my attorney,
each and every part of this Petition to Plead Guilty, and that the answers which
appear in every part of this petition are true and correct.

-1...., Signe        d Sworn to by me in open court, in the presence of my attorney, this
.,L._ day of --+-',I-/-¥'-"'"'-""'-------' 2022.




                                  PAUL GORDON
                                  Defendant


          Subscribed and Sworn to before me t h i s ~ day of      ~W\,'l_.,-   , 2022.




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                          CERTIFICATE OF COUNSEL

      The undersigned, as lawyer and counselor for the defendant, Paul Gordon,
hereby certifies:

       (1) I have read and fully explained to the defendant the allegations contained
in the Indictment in this case.

      (2) To the best of my knowledge and belief, the statements, representations
and declarations made by the defendant in the foregoing petition are in all respects
accurate and true.

      (3)   I explained the maximum penalty for each count to the defendant.

       (4) The plea of "GUILTY" offered by the defendant in paragraph (20) accords
with my understanding of the facts he related to me and is consistent with my advice
to the defendant.

      (5) In my opinion, the defendant's waiver of reading of the Indictment in open
court as provided by Rule 10 is voluntarily and understandingly made, and I
recommend to the Court that the waiver be accepted.

       (6) In my opinion, the plea of "GUILTY" offered by the defendant in
paragraph (20) of the petition is voluntarily and understandingly made. I recommend
that the Court accept the plea of "GUILTY."

      (7) I have made no predictions or promises to the defendant concerning any
sentence the Court may award, except as noted in the space below:

       I have discussed with my client how the Sentencing Guidelines may apply in
his case.

        (8) I further represent to the Court that the defendant's plea of "GUILTY" is
the result of a plea agreement. The terms of the agreement are set out in paragraph
(18) of the petition, and I have informed the defendant that the Court is not bound by
the terms of the agreement and that if the Court rejects the agreement, the Court
will not give him the opportunity to withdraw his plea of "GUILTY," unless the plea
agreement, signed by all parties, is executed in accordance with Federal Rules of
Criminal Procedure, Rule 1 l(c)(l)(A) or Rule 1 l(c)(l)(C).




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       Signed by me in open court in the presence of the defendant above named and
after full discussion of the contents of this certificate with the defendant, this .3 day
0 ~                     ,2022.




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                                     OR D ER

       I find that the plea of guilty was made by the defendant freely, voluntarily,

and because he is guilty as charged, and not out of ignorance, fear, inadvertence or

coercion, and with full understanding of its consequences. I further find that the

defendant has admitted the essential elements of the crime charged and is mentally

competent.

       IT IS THEREFORE ORDERED that the defendant's plea of "GUILTY" be

accepted and entered as prayed for in the petition and as recommended in the

certificate of his lawyer.

       Done in open court this -3_ day of       ~(,\() {)      <"' , 2022.
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                                 ERIC F. MELGREN        7
                                 CHIEF U.S. DISTRICT JUDGE




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